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1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    LORETTA LEIGH CANHAM
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,          )   No. Cr.S. 08-363-GEB
10                                      )
                     Plaintiff,         )
11                                      )   STIPULATION AND [PROPOSED ORDER]
          v.                            )
12                                      )
                                        )   Date: June 11, 2010
13                                      )   Time: 9:00 A.M.
     LORETTA LEIGH CANHAM and           )   Judge: Hon. Garland E. Burrell
14   DAVID ROBBIE FORKNER,              )
                                        )
15                  Defendants.         )
     _____________________________
16
17        IT IS HEREBY STIPULATED by and between the parties through their
18   respective counsel, MICHAEL M. BECKWITH, Assistant United States
19   Attorney, attorney for Plaintiff, DENNIS S. WAKS, Supervising Assistant
20   Federal Defender, attorney for defendant, LORETTA LEIGH CANHAM and JOHN
21   R. MANNING, attorney for defendant, DAVID ROBBIE FORKNER, that the
22   current Status Conference date of April 23, 2010, be vacated and reset
23   for June 11, 2010, at 9:00 a.m.
24        Defense counsel needs additional time to prepare, to review the
25   discovery, and to interview witnesses.
26        It is further stipulated and agreed to between the parties that
27   from the date of this order to June 11, 2010, time should be excluded
28   within which the trial of the above criminal prosecution must commence
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1    for purposes of the Speedy Trial Act.           All parties stipulate and agree
2    that this is an appropriate exclusion of time within the meaning of
3    Title 18, United States Code, §3161(h)(7)(B)(iv)(Local Code T4).
4
5    Dated:    April 22, 2010                  Respectfully submitted,
6                                              DANIEL BRODERICK
                                               Federal Defender
7
8                                               /s/ Dennis S. Waks
                                               DENNIS S. WAKS
9                                              Supervising Assistant Federal
                                               Defender
10                                             Attorney for Defendant
                                               LORETTA LEIGH CANHAM
11
     DATED:    April 22, 2010
12
13                                             /s/ Dennis S. Waks for
14                                             JOHN MANNING
                                               Attorney for Defendant
15                                             DAVID ROBBIE FORKNER
16
                                               BENJAMIN B. WAGNER
17                                             United States Attorney
18
     Dated: April 22, 2010
19                                             /S/ Dennis S. Waks for
                                               MICHAEL M. BECKWITH
20                                             Assistant U.S. Attorney
21                                           ORDER
22        IT IS SO ORDERED.
23   Dated:    May 5, 2010
24
25                                        GARLAND E. BURRELL, JR.
26                                        United States District Judge

27
28


                                               2
